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                    IN THE UNITED STATES DISTRICT COURT FOR THE


                              EASTERN DISTRICT OF VIRGINIA


                                          Alexandria Division
                                                                                  '■-P                 I in

UNITED STATES OF AMERICA                                                    '!l II m IS 2018
               V.                                            Case No.                           - J j
JOHN CHRISTOPHER NICHOLS,

                Defendant.




                               AFFIDAVIT IN SUPPORT OF A
                    CRIMINAL COMPLAINT AND ARREST WARRANT


       I, Zachary D. Mikkelson, being duly sworn, depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND


       1.      I have been a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and

Explosives (ATF) since July of 2015. I am currently assigned to the ATF Washington Field

Division, Falls Church II Office. As a Special Agent with ATF, I am authorized pursuant to Title

18 U.S.C., Section 3051 to execute search warrants and enforce any of the criminal, seizure, or

forfeiture provisions of the laws of the United States. Additionally, I am an "investigative or law

enforcement officer ofthe United States" within the meaning of Section 2510(7) of Title 18, United

States Code, that is, an officer of the United States who is empowered by law to conduct

investigations of and to make arrests for offenses enumerated in Section 2516 of Title 18.

       2.      I have successfully completed numerous training programs hosted by ATF, the

Federal Law Enforcement Training Center, and other federal law enforcement agencies and

organizations. I have received specialized training in the investigation of federal crimes involving

the trafficking of firearms and controlled substances. Prior to becoming a Special Agent with

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